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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

SECURITIES AND EXCHANGE
COMMISSION,

Plaintiff,
Civil Action File No.

Vv.

TANNER S. ADAM, JONATHAN L. JURY DEMAND
ADAM, TRITEN FINANCIAL GROUP,
LLC, and GCZ GLOBAL, LLC,

Defendants.

CONSENT OF DEFENDANT TRITEN FINANCIAL GROUP

1. Defendant Triten Financial Group (“Defendant”) waives service of a
summons and the complaint in this action, enters a general appearance, and admits
the Court’s jurisdiction over Defendant and over the subject matter of this action and
consents to venue in this district.

2. Without admitting or denying the allegations of the complaint (except as
provided herein in paragraph 11 and except as to personal and subject matter
jurisdiction, which Defendant admits), Defendant hereby consents to the entry of the
Judgment in the form attached hereto (the “Judgment”) and incorporated by reference
herein, which, among other things permanently restrains and enjoins Defendant from

violation of Section 17(a) of the Securities Act of 1933 (“Securities Act”) [15 U.S.C.
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§ 77q(a)] and Section 10(b) of the Securities Exchange Act of 1934 (“Exchange
Act”) [15 U.S.C. § 78)(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. §
240.10b-5].

3. Defendant agrees that the Court shall order disgorgement of ill-gotten
gains, prejudgment interest thereon, and a civil penalty pursuant to Section 20(d) of
the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15
U.S.C. § 78u(d)(3)]. Defendant further agrees that the amounts of the disgorgement
and civil penalty shall be determined by the Court upon motion of the Commission,
and that prejudgment interest shall be calculated from January 1, 2023, based on the
rate of interest used by the Internal Revenue Service for the underpayment of federal
income tax as set forth in 26 U.S.C. § 6621(a)(2). Defendant further agrees that in
connection with the Commission’s motion for disgorgement and/or civil penalties,
and at any hearing held on such a motion: (a) Defendant will be precluded from
arguing that it did not violate the federal securities laws as alleged in the Complaint;
(b) Defendant may not challenge the validity of this Consent or the Judgment; (c)
solely for the purposes of such motion, the allegations of the Complaint shall be
accepted as and deemed true by the Court; and (d) the Court may determine the
issues raised in the motion on the basis of affidavits, declarations, excerpts of swom
deposition or investigative testimony, and documentary evidence, without regard to

the standards for summary judgment contained in Rule 56(c) of the Federal Rules of
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Civil Procedure. In connection with the Commission’s motion for disgorgement
and/or civil penalties, the parties may take discovery, including discovery from
appropriate non-parties.

4. Defendant waives the entry of findings of fact and conclusions of law
pursuant to Rule 52 of the Federal Rules of Civil Procedure.

5. Defendant waives the right, if any, to a jury trial and to appeal from the
entry of the Judgment.

6. Defendant enters into this Consent voluntarily and represents that no
threats, offers, promises, or inducements of any kind have been made by the
Commission or any member, officer, employee, agent, or representative of the
Commission to induce Defendant to enter into this Consent.

Fe Defendant agrees that this Consent shall be incorporated into the
Judgment with the same force and effect as if fully set forth therein.

8. Defendant will not oppose the enforcement of the Judgment on the
ground, if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of
Civil Procedure, and hereby waives any objection based thereon.

9. Defendant waives service of the Judgment and agrees that entry of the
Judgment by the Court and filing with the Clerk of the Court will constitute notice to
Defendant of its terms and conditions. Defendant further agrees to provide counsel

for the Commission, within thirty days after the Judgment is filed with the Clerk of
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the Court, with an affidavit or declaration stating that Defendant has received and
read a copy of the Judgment.

10. Consistent with 17 C.F.R. § 202.5(f), this Consent resolves only the
claims asserted against Defendant in this civil proceeding. Defendant acknowledges
that no promise or representation has been made by the Commission or any member,
officer, employee, agent, or representative of the Commission with regard to any
criminal liability that may have arisen or may arise from the facts underlying this
action or immunity from any such criminal liability. Defendant waives any claim of
Double Jeopardy based upon the settlement of this proceeding, including the
imposition of any remedy or civil penalty herein. Defendant further acknowledges
that the Court’s entry of a permanent injunction may have collateral consequences
under federal or state law and the rules and regulations of self-regulatory
organizations, licensing boards, and other regulatory organizations. Such collateral
consequences include, but are not limited to, a statutory disqualification with respect
to membership or participation in, or association with a member of, a self-regulatory
organization. This statutory disqualification has consequences that are separate from
any sanction imposed in an administrative proceeding. In addition, in any
disciplinary proceeding before the Commission based on the entry of the injunction
in this action, Defendant understands that it shall not be permitted to contest the

factual allegations of the complaint in this action.
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1]. Defendant understands and agrees to comply with the terms of 17
C.F.R. § 202.5(e), which provides in part that it is the Commission’s policy “not to
permit a defendant or respondent to consent to a judgment or order that imposes a
sanction while denying the allegations in the complaint or order for proceedings,”
and “a refusal to admit the allegations is equivalent to a denial, unless the defendant
or respondent states that he neither admits nor denies the allegations.” As part of
Defendant’s agreement to comply with the terms of Section 202.5(e), Defendant: (i)
will not take any action or make or permit to be made any public statement denying,
directly or indirectly, any allegation in the complaint or creating the impression that
the complaint is without factual basis; (ii) will not make or permit to be made any
public statement to the effect that Defendant does not admit the allegations of the
complaint, or that this Consent contains no admission of the allegations, without also
Stating that Defendant does not deny the allegations; and (iii) upon the filing of this
Consent, Defendant hereby withdraws any papers filed in this action to the extent that
they deny any allegation in the complaint. If Defendant breaches this agreement, the
Commission may petition the Court to vacate the ] udgment and restore this action to
its active docket. Nothing in this paragraph affects Defendant’s: (i) testimonial
obligations; or (ii) right to take legal or factual positions in litigation or other legal

proceedings in which the Commission is not a party.
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12. Defendant hereby waives any rights under the Equal Access to Justice
Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or any other
provision of law to seek from the United States, or any agency, or any official of the
United States acting in his or her official capacity, directly or indirectly,
reimbursement of attorney’s fees or other fees, expenses, or costs expended by
Defendant to defend against this action. For these purposes, Defendant agrees that
Defendant is not the prevailing party in this action since the parties have reached a
good faith settlement.

13. In connection with this action and any related judicial or administrative
proceeding or investigation commenced by the Commission or to which the
Commission is a party, Defendant (i) agrees to appear and be interviewed by
Commission staff at such times and places as the staff requests upon reasonable
notice; (ii) will accept service by mail or facsimile transmission of notices or
subpoenas issued by the Commission for documents or testimony at depositions,
hearings, or trials, or in connection with any related investigation by Commission
staff, (iii) appoints Defendant’s undersigned attorney as agent to receive service of
such notices and subpoenas; (iv) with respect to such notices and subpoenas, waives
the territorial limits on service contained in Rule 45 of the Federal Rules of Civil
Procedure and any applicable local rules, provided that the party requesting the

testimony reimburses Defendant’s travel, lodging, and subsistence expenses at the
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then-prevailing U.S, Government per diem rates; and (v) consents to personal
jurisdiction over Defendant in any United States District Court for purposes of
enforcing any such subpoena.

14. Defendant agrees that the Commission may present the Judgment to the
Court for signature and entry without further notice.

15. Defendant agrees that this Court shall retain jurisdiction over this matter

for the purpose of enforcing the terms of the Judgment.

Dated: 3-2‘/-2/

Triten F Re Group
By: ZL \

Tanner Adam
[Title]
[Address]

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known to me, personally appeared before me and meio executing the

foregoing Consent with full authority to do so on behalf of zbs its
WAC Pees ls Aah Grovuf>
Notary Public

Commission expires:04—~05, OLS

Sey, TAYLOR SIMMONS
LOE Notary Public, State of Texas
es iG Comm. Expires 04-05-2028

Notary ID 134839380

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Approved as to form:

Robert J. Rhatigan, Esq.
Practus, LLP

2001 L Street NW
Suite 500
Washington, DC 20036
Attorney for Defendant

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